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     UNITED STATES DISTRICT COURT                                              ;:t-     =-,..               '
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     EASTERN DISTRICT OF NEW YORK                                                           ••        :   t')



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     GOVERNMENT EMPLOYEES                                                         001\11 ·.
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     INSURANCE CO., GEICO                                                                            • r.J I ..
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     INDEMNITY CO., GEICO GENERAL
     INSURANCE COMPANY, and GEICO                               MEMORANDUM & ORDER
     CASUALTY CO.,
                                                                l 4-CV-5277 (ENV) (SMG)
                                Plaintiffs,

                      -against-

     PREMIER PROFESSIONAL
     SERVICES, LLC and PREMIER
     HEALTH SERVICES, LLC,

                                Defendants.
     ------------------------------------------------ x
     VITALIANO, D.J.

             Plaintiffs Government Employees Insurance Co., GEICO Indemnity Co., GEICO General

     Insurance Company, and GEICO Casualty Co. (collectively, "GEICO") initiated this action

     against numerous corporate healthcare providers, their owners, and several physicians, all of

     whom, GEICO alleges, submitted, or knowingly participated in the submission of, fraudulent New

     York no-fault insurance claims. (Campi., ECF No. I). By Memorandum and Order, dated

     December 9, 2015, this Court referred GEICO's motion for default judgment against defendants

     Premier: Professional Services, LLC and Premier Health Services, LLC (collectively, "Premier"),

     to Chief Magistrate Judge Steven M. Gold for an assessment of the plausibility of the claims

     against Premier, an inquest as to any resulting damages, and to make a report and recommendation

     as to his findings. (Mem. & Order, ECF No. 97). On February 17, 2016, Chief Magistrate Gold

     issued his report and recommendation (the "R&R"). (R&R, ECF No. 98). With the required notice

     given, no party has filed objections to the R&R. For the reasons stated below, the R&R is adopted

     in its entirety as the opinion of the Court.



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                                             Legal Standard

           In reviewing the report and recommendation of a magistrate judge, a district judge "may

  accept, reject, or modify, in whole or in part, the findings or recommendations made by the

  magistrate judge." 28 U.S.C. § 636(b)(l). A district judge is required to "determine de novo any

  part of the magistrate judge's disposition that has been properly objected to.'' Fed. R. Civ. P.

  72(b)(3). Where no timely objection has been made, the district court may adopt the report and

  recommendation, "provided no clear error is apparent from the face of the record." Dafeng

  Hengwei Textile Co. v. Aceco Indus. & Commercial Corp., 54 F. Supp. 3d 279, 283 (E.D.N.Y.

  2014).

                                               Discussion

           As discussed in the R&R, Chief Magistrate Judge Gold found that plaintiffs adequately

  established the defaulting defendants' liability and, for the most part, sufficiently supported their

  requests for damages and a companion declaratory judgment. He recommended that: ( 1) the

  motion for default judgment be granted, (2) judgment be entered against Premier Health Services

  in the amount of $353,832.96, and against Premier Professional Services in the amount of

  $14 7 ,671.22, in addition to an award of prejudgment interest as described below, and (3) the

  Court enter a declaratory judgment providing that plaintiffs are not obligated to pay any

  outstanding fraudulent claims Premier submitted to GEICO for reimbursement. (R&R at 16).

           Concerning prejudgment interest, Chief Magistrate Judge Gold noted that plaintiffs

  "proposed a more conservative calculation method than that allowed under New York law," and

  he recommended calculating the award in accordance with their preferred method. (R&R at 13).

  Specifically, GEICO requested prejudgment interest on the following amounts at the rate of 9%




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  per annum accruing from the first day following the year in which the fraudulent payments were

  made, through the date of entry of judgment:

  Table 1. Premier Health Services, LLC
  Amount Paid                   Billing Year                          Date 9% Interest Begins to Run
  $3257.25                      2004                                  January 1, 2005
  $33,491.69                    2005                                  January 1, 2006
  $44,500.41                    2006                                  January 1, 2007
  $23,253.46                    2007                                  January 1, 2008
  $23,297.04                    2008                                  January 1, 2009
  $17,014.71                    2009                                  January 1, 2010
  $77,389.43                    2010                                  January 1, 2011
  $85,457.73                    2011                                  January 1, 2012
  $43,586.24                    2012                                  January 1, 2013
  $2585.00                      2013                                  January 1, 2014

  Table 2. Premier Professional Services, LLC
  Amount Paid                    Billing Year                         Date 9% Interest Begins to Run
  $22,045.99                     2004                                 Januarv 1, 2005
  $21,746.72                     2005                                 January 1, 2006
  $23,904.33                     2006                                 January 1, 2007
  $24,142.31                     2007                                 Januarv 1, 2008
  $22,053.56                     2008                                 January 1, 2009
  $24,480.38                     2009                                 January 1, 20 IO
  $7957.53                       2010                                 January 1, 2011
  $1340.40                       2011                                 January 1, 2012

          The Court has now reviewed the R&R in line with the applicable clear error standard of

  review, and finds it to be correct, well-reasoned, and free of any clear error. The Court,

  therefore, adopts it in its entirety as the opinion of the Court.

                                                Conclusion

          For the reasons set forth above, GEICO's request for default judgment, including entry of

  declaratory judgment, is granted. Damages are awarded as set forth in the report and




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          recommendation, and the declaratory judgment provides that plaintiffs are not obligated to pay

          any outstanding fraudulent claims that Premier submitted to them for reimbursement.

                 The Clerk of Court is directed to enter judgment for plaintiffs against Premier Health

          Services in the amount of$353,832.96, and against Premier Professional Services in the amount

          of $14 7,671.22, as well as awards of prejudgment interest at a rate of 9% per annum from the

          dates listed in Tables I and 2 above, through the date of entry of judgment in this action.

                 The Clerk of Court is further directed to close this case for administrative purposes.



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                 So Ordered.

          Dated: Brooklyn, New York                                 /)    .   -   ~-
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                 March 17, 2016
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                                                                   - ERtCN. VIlfALIANO
                                                                      United States District Judge




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